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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                :

       v.                                    : Crim. No. 22-96-09 (CKK)

JOAN BELL                                    :

                APPEARANCE OF COUNSEL FOR DEFENDANT

       Please enter the appearance of undersigned appointed counsel on behalf of the

Defendant, nunc pro tunc to April 5, 2022.

                                                   /s/

                                             Stephen F. Brennwald, Esq.
                                             Bar No. 398319
                                             Brennwald & Robertson, LLP
                                             922 Pennsylvania Avenue, S.E.
                                             Washington, D.C. 20003
                                             (301) 928-7727
                                             (202) 544-7626 (facsimile)
                                             E-mail: sfbrennwald@cs.com


                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was sent by ECF, this 6th day
of April, 2022 to the U.S. Attorney’s Office, 555 4th Street, N.W., Washington, D.C.
20530, and to all counsel of record.

                                                   /s/

                                             Stephen F. Brennwald
